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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                            CASE NO. 2:11-CR-00514 TLN AND
                                                                   2:12-CR-00118 TLN
11                                 Plaintiff,
                                                          STIPULATION RESETTING RESTITUTION
12                          v.                            HEARING AND WAIVING 90 DAY
                                                          REQUIREMENT; FINDINGS AND ORDER
13   KHADZHIMURAD BABTOV,
                                                          DATE: June 11, 2015
14                                 Defendants.            TIME: 9:30 a.m.
                                                          COURT: Hon. Troy L. Nunley
15

16
                                                  STIPULATION
17
            1.      On April 14, 2015 by stipulation, reset the restitution hearing in this matter to June 11,
18
     2015. The defendant did not object to the continuance of the restitution hearing.
19
            2.      By this stipulation, the parties now move to continue the restitution hearing until October
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     29, 2015 and the defendant continues to waive the time 90 day time period required for the imposition of
21
     a restitution order pursuant to 18 U.S.C. § 3664(d)(5).
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The initial restitution hearing was set well within the 90 day limit set out in 18
24
            U.S.C. § 3664(d)(5).
25
                    b)     The parties desire additional time to prepare briefing for this Court’s
26
            consideration as to the amount of restitution that should be ordered. The parties have agreed to
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            the following briefing schedule. The government’s brief will be due on September 11, 2015. The
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            defendant’s response, if any, will be due on October 16, 2015.
      STIPULATION RE: RESTITUTION HEARING; FINDINGS      1
      AND ORDER
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 1                c)      Counsel for the United States is engaged in trial preparation and expects to be in

 2        trial for 3-4 weeks beginning June 22, 2015 in the case of United States v. Olga Palamarchuk,

 3        et.al., 2:11-CR-0450 TLN. Counsel for the defendant begins a murder trial in Superior Court on

 4        or about August 14, 2014 which is expected to last into the month of September.

 5                d)      The defendant does not object to this continuance request and hereby continues to

 6        waive the 90 day time period for entry of a restitution order contemplated by 18 U.S.C.

 7        § 3664(d)(5).

 8        IT IS SO STIPULATED.

 9 Dated: June 9, 2015                                     BENJAMIN B. WAGNER
                                                           United States Attorney
10

11                                                         /s/ HEIKO P. COPPOLA
                                                           HEIKO P. COPPOLA
12                                                         Assistant United States Attorney
13

14 Dated: June 9, 2015                                     /s/ John Duree
                                                           JOHN DUREE
15
                                                           Counsel for Defendant
16                                                         KHADZHIMURAD BABOV

17

18                                         FINDINGS AND ORDER

19        IT IS SO FOUND AND ORDERED this 9th day of June, 2015.

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                                                              Troy L. Nunley
23                                                            United States District Judge
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     STIPULATION RE: RESTITUTION HEARING; FINDINGS     2
     AND ORDER
